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  1 Joseph M. Kar (SBN 207414)
    LAW OFFICE OF JOSEPH M. KAR, PC
  2 15250 Ventura Blvd., Suite PH-1220
    Sherman Oaks, CA 91403
  3 Telephone: (818) 501-6930
    Facsimile: (818) 501-6935
  4
    Gerald L. Kroll, Esq. (SBN 066493)
  5 KROLL LAW FIRM
    970 West Broadway, Ste. E-200
  6 Jackson, WY 83001
    Tel: (202) 248-5423
  7
    Attorneys for PLAINTIFFS, LEVI COBOS, individually, and those similarly situated,
  8
                               UNITED STATES DISTRICT COURT
  9
                         CENTRAL DISTRICT IN STATE OF CALIFORNIA
 10

 11
                                                       USDC Case No.:
 12 LEVI COBOS, an individual and those
    similarly situated,                                Class Action and Business & Professions
 13                                                    Code § 17200
                   Plaintiff(s),
 14                                                    ORIGINAL COMPLAINT FOR:
          v.
 15                                                    1) VIOLATION OF 15 USC § 78i;
    ROBINHOOD FINANCIAL LLC, a business                2) VIOLATION OF 18 USC § 1030 (a);
 16 form unknown; ROBINHOOD                            3) VIOLATION OF BUSINESS &
    SECURITIES, LLC, a business form
 17 unknown; ROBINHOOD MARKETS, INC., a                   PROFESISONS CODE § 17200;
    business form unknown,                                AND,
 18                                                    4) NEGLIGENCE.
                   Defendant(s),
 19

 20

 21

 22

 23                                  NATURE OF THE ACTION
 24         1.    Robinhood is an online brokerage firm that caters to young and inexperienced
 25 investors and investors who typically would not be well prepared to burden financial losses

 26 or market manipulations as ordinary or experienced investors.

 27         2.    Robinhood purposefully, willfully, and knowingly manipulated the stock prices

 28 of Blackberry (NASDAQ: BB), AMC Theatres (NASDAQ: AMC), and Gamestop (NASDAQ:

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  1 GME) and the ability to transact on its trading platform in the midst of an unprecedented

  2 stock rise and fall and trading behaviors occurring on January 28, 2021, resulting in the

  3 deprivation of its customers and users, retail investors, to invest and transact in an open-

  4 market free of manipulation.
                                                 PARTIES
  5
            3.       Plaintiff LEVI COBOS is a citizen of the state of California and resides in the
  6
      County of Los Angeles, at all times relevant. At all times relevant, Mr. Cobos is and was a
  7
      customer of Robinhood and was and is a user of the Robinhood app (as defined
  8
      hereinbelow.)
  9
            4.       Defendant Robinhood Financial LLC is a Delaware corporation with its
 10
      principal place of business at 85 Willow Road, Menlo Park, California 94025. It is a wholly-
 11
      owned subsidiary of Robinhood Markets, Inc. Robinhood Financial LLC is registered as a
 12 broker-dealer with the U.S. Securities & Exchange Commission (“SEC”). Defendant

 13 Robinhood Financial LLC acts as an introducing broker and has a clearing arrangement

 14 with its affiliate Defendant Robinhood Securities, LLC.

 15         5.       Defendant Robinhood Securities, LLC is a Delaware corporation with its
 16 principal place of business at 500 Colonial Center Parkway, Suite 100, Lake Mary, Florida

 17 32746. It is a wholly owned subsidiary of Defendant Robinhood Markets, Inc. Defendant

 18 Robinhood Securities, LLC is registered as a broker-dealer with the SEC. Defendant

 19 Robinhood Financial LLC acts as a clearing broker and clears trades introduced by its

 20 affiliate Defendant Robinhood Financial.
            6.       Defendant Robinhood Markets, Inc. is a Delaware corporation with its principal
 21
      place of business at 85 Willow Road, Menlo Park, California 94025. Defendant Robinhood
 22
      Markets, Inc. is the corporate parent of Defendants Robinhood Financial LLC and
 23
      Robinhood Securities, LLC.
 24
            7.       The above-named corporate defendants herein referred to collectively as
 25
      “Robinhood.”
 26
                                       JURISDICTION AND VENUE
 27         8.       This Court has subject-matter jurisdiction over this action pursuant to 28
 28 U.S.C. § 1332(d)(2). The aggregate claims of all members of the proposed class and

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  1 subclass(es) are in excess of $5 million, exclusive of interest and costs, and there are more

  2 than 100 putative class members. Many members of the proposed class are citizens of a

  3 state different from Defendant.

  4          9.     Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action

  5 because a substantial part of the events, omissions, and acts giving rise to the claims
    herein occurred in this District where Robinhood, distributed, marketed, advertised, and sold
  6
    the trading services which are the subject of the present complaint. Finally, venue is
  7
    appropriate in this District pursuant to 28 USC § 1391(b)(2) because a substantial part of
  8
    the acts and omissions that gave rise to this Complaint occurred or emanated from this
  9
    District.
 10
            10.   This Court has personal jurisdiction over Robinhood because it is authorized
 11
    to do business and does conduct business in California, and because it has specifically
 12 marketed, advertised, and made substantial sales in California, and has sufficient minimum

 13 contacts with this state and/or sufficiently avails itself of the markets of this state through its

 14 promotion, sales, and marketing within this state to render the exercise of jurisdiction by this

 15 Court permissible.

 16                                     FACTUAL ALLEGATIONS

 17          11.    Robinhood is an online brokerage firm that enables its customers to enter into

 18 securities transactions (as defined by the Securities and Exchange Act of 1934) and make

 19 trades through the Robinhood’s computer systems and by using its web-based application
    (or “app.”) Robinhood permits young or inexperienced customers to purchase and sell
 20
    securities, including futures contracts such as Call or Put options. The Robinhood further
 21
    claims over 10 million users use its app.
 22
             12.    Because of its marketing and advertising directed to younger audiences and
 23
    inexperienced potential customers, Robinhood has experienced rapid growth in its
 24
    businesses since it is a relatively new online brokerage firm. In 2019, Robinhood
 25
    successfully raised $323 million in funding at a $7.6 billion valuation. One of those
 26
    investors in Robinhood, upon information and believe, is Citadel which is a hedge fund that
 27 at all time relevant held a short-position in various stocks and derivatives thereof.

 28          13.    On or about March 23, 2016, Robinhood’s official Twitter account stated: “Let

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  1 the people trade” but on January 28, 2021 Robinson has used its back-end control of its

  2 computer systems, trading platform, and its app to selectively block access to transaction or

  3 trade services for, thus far, Blackberry (NASDAQ: BB), AMC Theatres (NASDAQ: AMC),

  4 and Gamestop (NASDAQ: GME), by millions of its own customers who are unable to open,

  5 close, or purchase or sell those stocks or derivatives thereof.
              14.   Starting sometime in or about mid-January, 2021 and after, stock prices for
  6
      Gamestop (NASDAQ: GME), AMC Theatres (NASDAQ: AMC), and Blackberry (NASDAQ:
  7
      BB) began to experience unusual activity due to social media attention surrounding “short
  8
      selling” activity in at least GME.
  9
             15.    At that time, Robinhood did not restrict or interfere with its customers or the
 10
      retail markets in connection with Gamestop (NASDAQ: GME), AMC Theatres (NASDAQ:
 11
      AMC), and Blackberry (NASDAQ: BB).
 12          16.    On or about January 27, 2021, Robinhood was publicly criticized in various
 13 news publication as one source of trouble in volatility of stock prices Gamestop (NASDAQ:

 14 GME), AMC Theatres (NASDAQ: AMC), and Blackberry (NASDAQ: BB), and that

 15 Robinhood’s participation in the securities exchange markets garnered controversy because

 16 of its customer based composition of mostly younger, inexperienced, and easily influenced

 17 retail investors.

 18          17.    In an effort to allay criticisms and negative publicity surrounding its business

 19 operations, on January 27-28, 2021, Robinhood decided to and did engage in unfair and

 20 improper deprivation of computer systems, transaction/trading platform, and services to its
      customers by disabling the “buy” button on its app; and, Robinhood restricted, limited, or
 21
      conditioned their ability to transact or trade, abruptly, purposefully, willfully, and knowing or
 22
      having reason to know that the stock prices for Gamestop (NASDAQ: GME), AMC Theatres
 23
      (NASDAQ: AMC), Blackberry (NASDAQ: BB), and other securities, would be manipulated
 24
      and would impact the open market as a result, thus causing harm to its customers, the open
 25
      market, its fellow broker/dealers and firms, as well as issuers of securities (“Selective
 26
      Market Manipulation”).
 27          18.    Upon information and belief, Robinhood’s actions were done purposefully and
 28 knowingly to manipulate, or with reason to know, that its customers would be harmed and

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  1 without employing any reasonable protections for its retail investor customers affected, even

  2 Robinhood knew them to be typically younger or inexperienced and poorer than institutional

  3 investors and Robinhood’s backers, who were typically rich or wealthy.

  4         19.    Since Robinhood decided to and did engage in the Selective Market

  5 Manipulation as alleged herein, the stock prices and derivative market prices for Gamestop
    (NASDAQ: GME), AMC Theatres (NASDAQ: AMC), Blackberry (NASDAQ: BB), and any
  6
    others treated the same way on its platform, have been in turmoil, gaining and losing 30-
  7
    50% or more intraday and Robinhood customers and retail investors, such as LEVI COBOS
  8
    and those similarly situated, are not freely allowed to either purchase, sell, or trade, their
  9
    stocks, options, or otherwise open or close positions in derivatives at all on January 28,
 10
    2021 and after (as of the date of this complaint), in an open market free from a manipulated
 11
    stock price in those stocks and derivatives.
 12        20.     Though Robinhood advertises and market’s itself and its entities attempt to
 13 build upon the old English folklore hero, the Robin the “Hood” or Robin of Lockley, who was

 14 know for stealing from the rich to give to the poor, Robinhood and its app have ironically

 15 instead stolen from its poor customers to give to the rich.

 16         21.    The Financial Industry Regulatory Authority (“FINRA”), which governs brokers

 17 like Robinhood, espouses rule 5310 regarding “Best Execution and Interpositioning.” Rule

 18 5310.01 requires that Robinhood “must make every effort to execute a marketable customer

 19 order that it receives promptly and fully.” By failing to respond at all to customers’ placing

 20 timely trades—and outright blocking customers from trading a security—Robinhood has
      breached these, among other, obligations and caused its customers substantial losses due
 21
      solely to its own negligence and failure to maintain adequate infrastructure.
 22
            22.    Also, pursuant to 15 USC § 78i,
 23
            (i) Limitations on practices that affect market volatility.
 24
                   It shall be unlawful for any person, by the use of the mails or any
 25         means or instrumentality of interstate commerce or of any facility of any
 26         national securities exchange, to use or employ any act or practice in
            connection with the purchase or sale of any equity security in
 27         contravention of such rules or regulations as the Commission may adopt,
            consistent with the public interest, the protection of investors, and the
 28         maintenance of fair and orderly markets—

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  1               (1) to prescribe means reasonably designed to prevent
            manipulation of price levels of the equity securities market or a substantial
  2         segment thereof; and
  3
                     (2) to prohibit or constrain, during periods of extraordinary market
  4         volatility, any trading practice in connection with the purchase or sale of
            equity securities that the Commission determines (A) has previously
  5         contributed significantly to extraordinary levels of volatility that have
            threatened the maintenance of fair and orderly markets; and (B) is
  6         reasonably certain to engender such levels of volatility if not prohibited or
            constrained.
  7

  8                 In adopting rules under paragraph (2), the Commission shall,
            consistent with the purposes of this subsection, minimize the impact on
  9         the normal operations of the market and a natural person’s freedom to buy
            or sell any equity security.
 10

 11         23.    As alleged herein, the Selective Market Manipulation by Robinhood is
      actionable pursuant to 15 USC § 78i(f) and 18 USC §1030 (among other laws, statutes,
 12
      regulations, and causes of action) and Robinhood, upon information and belief, does and
 13
      shall continue to engage in the same conduct with other securities to the detriment and
 14
      harm of Plaintiff, LEVI COBOS, and those similarly situated.
 15
            24.    Upon information and belief, Robinhood engaging in such conduct and
 16
      violations as alleged herein including the Selective Market Manipulation, knowing and
 17
      having reasonable basis for knowing that its conduct is manipulation of the free open
 18
      markets and in direct harm to its younger and inexperienced customers and users.
 19         Plaintiff’s Experience
 20         25.    On the morning on January 28, 2021, Mr. Cobos attempted to transact using
 21 the Robinhood app, by “tapping” the “buy” button to purchase additional shares in AMC

 22 Theatres (NASDAQ: AMC) but he was denied access, restricted and limited from

 23 transacting or trading; which caused him to suffer economic harm due to the abrupt inability

 24 to purchase, restrictions and limitations, the Selective Market Manipulation and the volatility

 25 Robinhood caused in the open-market by its manipulation. (“AMC Transaction”). Attached

 26 hereto as Exhibit 1 is a true and correct copy of the screenshot of the AMC Transaction.
           26. On the morning on January 28, 2021, Mr. Cobos also attempted to transact using
 27
    the Robinhood app, by “tapping” the “buy” button to purchase shares in Blackberry
 28

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  1 (NASDAQ: BB) but he was denied access, restricted and limited from transacting or trading;

  2 which caused him to suffer economic harm due to the abrupt inability to purchase,

  3 restrictions and limitations, the Selective Market Manipulation and the volatility Robinhood

  4 caused in the open-market by its manipulation. (“BB Transaction”). Attached hereto as

  5 Exhibit 2 is a true and correct copy of the screenshot of the BB Transaction.
             27.    Upon information and belief, there were no computer equipment failures,
  6
      disruptions, or “glitches” that caused Robinhood to disable the “buy” button, restrict, limit, or
  7
      deny access to its transaction/trading platform and app, and instead Robinhood
  8
      deliberately, willfully, and intentionally, used internal controls in its app and computer
  9
      systems to control the purchase and sale of, transactions in, orders of, and trading in a
 10
      regulated securities market, to a beholden customer, that Robinhood engaged in without
 11
      notice to them, knowing and/or having reason to know such actions was market
 12 manipulation; and what Robinhood’s directors, principals, executives, and/or owners or

 13 investors, knew or should have known was market manipulation and misconduct. Indeed,

 14 Robinhood knew it was “gaming” the open markets by controlling the inflow of purchasing

 15 and leaving its customers to either sell or hold, while Robinhood violated numerous

 16 obligations and duties of trust and confidence that its young and inexperienced customer

 17 investors and users, such as Plaintiff LEVI COBOS and those similarly situated, bestowed

 18 upon it as a registered and licensed securities broker and trader, and as it marketed itself as

 19 “champion” for the poor.
         28.     On January 28, 2021, Vladamir Tenev, the chief executive officer of
 20
      Robinhood, appeared on CNN and publicly stated that Robinhood acted proactively to
 21
      disable purchases but continued to allow sales, through the “sell” button.
 22
                                     CLASS ACTION ALLEGATIONS
 23
             29.    Plaintiff brings claims pursuant to Federal Rule of Civil Procedure 23 on behalf
 24
      of the following Class, as defined below:
 25
                    A. MAIN CLASS: All individuals who were Robinhood customers within the
 26
                    United States on January 28, 2021;
 27                 B. SUB-CLASS #1: All individuals who were Robinhood customers within the
 28                 United States who were prevented from transacting in the stock or derivative

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  1                of AMC Theatres (NASDAQ: AMC) on January 28, 2021 as a result of

  2                Robinhood disabling the “buy” feature on its app; and,

  3                C. SUB-CLASS #2: All individuals who were Robinhood customers within the

  4                United States who were prevented from transacting in the stock or derivative
                   of Blackberry (NASDAQ: BB) on January 28, 2021 as a result of the disabling
  5
                   of the “buy” feature on its app.
  6
            30.    Excluded from the Class and Sub-Classes are the Robinhood entities and
  7
      their current employees, counsel for either party, as well as the Court and its personnel
  8
      presiding over this action, and anyone having a prior judgment or pending in an action
  9
      which disposes of the instant claims and causes of action.
 10
            31.    This action has been brought and may properly be maintained as a class
 11
      action against Robinhood pursuant to the provisions of Federal Rule of Civil Procedure 23.
 12         32.    Numerosity: The precise number of members of the proposed Class is yet
 13 unknown to Plaintiff at this time, but, based on information and belief, Class members are

 14 so numerous that their individual joinder herein is impracticable. Based on information and

 15 belief and publicly available reports, Class members number in the hundreds of thousands

 16 and up to ten million. Subclass members are likely in the tens of thousands. All Class and

 17 Subclass members may be notified of the pendency of this action by reference to

 18 Robinhood’s records, or by other alternative means.

 19         33.    Commonality: Numerous questions of law or fact are common to the claims

 20 of Plaintiff and members of the proposed Class. These common questions of law and fact
    exist as to all Class members and predominate over questions affecting only individual
 21
    Class members. These common legal and factual questions include, but are not limited to
 22
    the following:
 23
                    A.    Whether Robinhood deliberately and/or knowingly disabled the “buy”
 24
            button on its app and access to a fair and open free market trading platform like
 25
            every other competitive trading platform;
 26
                    B.    Whether Robinhood and/or the Selective Market Manipulation, violated
 27         15 USC § 78i;
 28                C.     Whether Robinhood and/or Selective Market Manipulation, violated 18

                                                      -8-
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  1        USC § 1030(a);

  2               D.     Whether Robinhood and/or the Selective Market Manipulation, violated

  3        California Business & Professions Code § 17200;

  4               E.     Whether Robinhood breached its contract to provide securities
           transaction services in good faith and fairly;
  5
                  F.     Whether Robinhood gave any or sufficient advance notice to its
  6
           customers of the disabling of the “buy” button;
  7
                  G.     Whether Robinhood failed to comply with its fiduciary duties and duties
  8
           of care to their customers;
  9
                  H.     Whether Robinhood disabled the “buy” button purposefully, for its own
 10
           advantage, or knowing it would harm their customers and benefit the critics against
 11
           Robinhood;
 12                I.    Whether Robinhood violated FINRA Rule 5310, among other FINRA
 13        rules, state rules, and federal regulations;
 14               J.     Whether Robinhood violated consumer protection laws in failing to
 15        disclose that its services would not include the ability to disable trading on its
 16        platform unilaterally and place restrictions or limitations without any advance or

 17        sufficient notice, as to all securities or derivatives thereof, for any period of time;

 18               K.     Whether Robinhood was in breach of its legal, regulatory, and licensing

 19        requirements by failing to provide adequate access to financial services;
                  L.     Whether Robinhood was in breach of its contracts and/or the implied
 20
           covenant of good faith and fair dealing in connection with its failure to provide
 21
           financial services;
 22
                  M.     Whether Robinhood was negligent or grossly negligent by failing to
 23
           provide financial services in a timely manner to the detriment of its customers, or for
 24
           the purpose of allaying its critics;
 25
                  N.     Whether Robinhood breached its fiduciary duties to customers by
 26
           failing to provide adequate access to financial services, including without limit,
 27        providing adequate advance notice to close out or transfer accounts elsewhere;
 28               O.     Whether Robinhood was unjustly enriched by its conduct;

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   1                 P.     Whether Plaintiff and the other Class members were injured by

   2          Robinhood’s conduct, and if so, the appropriate class-wide measure of damages,

   3          restitution, and other appropriate relief, including injunctive relief.

   4                 Q.     Whether Plaintiff and the other Class members are entitled to injunctive
              and declaratory relief.
   5
              34.    Typicality: The claims of the named Plaintiff are typical of the claims of the
   6
       proposed Class in that the named Plaintiff was a customer during the class period and was
   7
       unable to trade and place time-sensitive orders on AMC and BB, and other securities and
   8
       derivatives thereof which caused damages as a result of Robinhood’s wrongful conduct.
   9
              35.    Adequate Representation: Plaintiff will fairly and adequately represent the
  10
       interests of the Class in that he has no conflicts with any other Class members. Plaintiff has
  11
       retained competent counsel experienced in prosecuting complex class actions and civil
  12 litigation, and they will vigorously litigate this class action.

  13          36.   No Other Adequate Remedy Beside Class Action: There is no plain,
  14 speedy, or adequate remedy other than by maintenance of this class action. A class action

  15 is superior to other available means, if any, for the fair and efficient adjudication of this

  16 controversy. Prosecution of separate actions by individual Class members would create the

  17 risk of inconsistent or varying adjudications, establishing incompatible standards of conduct

  18 for the Defendants. Additionally, given the relatively modest damages sustained by most

  19 individual Class members, few, if any, proposed Class members could or would sustain the

  20 economic burden of pursuing individual remedies for Robinhood’s wrongful conduct.
       Treatment as a class action will achieve substantial economies of time, effort, and expense,
  21
       and provide comprehensive and uniform supervision by a single court. This class action
  22
       presents no material difficulties in management.
  23
              37.    Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(A)
  24
       because the prosecution of separate actions by individual members of the proposed Class
  25
       would create a risk of inconsistent or varying adjudications with respect to individual Class
  26
       members, which may produce incompatible standards of conduct for Defendants.
  27          38.    Class action certification is warranted under Fed. R. Civ P. 23(b)(1)(B)
  28 because the prosecution of separate actions by individual members of the proposed Class

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   1 would create a risk of adjudications with respect to individual Class members which may, as

   2 a practical matter, be dispositive of the interests of the other members not parties to the

   3 adjudications or substantially impair or impede their ability to protect their interests.

   4         39.    The prerequisites to maintaining a class action for injunctive or equitable relief

   5 pursuant to Fed. R. Civ. P. 23(b)(2) are met as Robinhood has acted or refused to act on
     grounds generally applicable to all Class members, thereby making final injunctive,
   6
     declaratory, or equitable relief appropriate with respect to the Class as a whole.
   7
            40.    Class action certification is also warranted under Fed. R. Civ P. 23(b)(3)
   8
     because questions of law or fact common to the Class members predominate over any
   9
     questions affecting only individual members, and a Class action is superior to other
  10
     available remedies for the fair and efficient adjudication of this controversy. The amount of
  11
     damages available to the individual Plaintiff is insufficient to make litigation addressing
  12
     Robinhood’s conduct economically feasible for most in the absence of the class action
  13 procedure. Individualized litigation also presents a potential for inconsistent or contradictory

  14 judgments, and increases the delay and expense to all parties and the court system

  15 presented by the legal and factual issues of the case. By contrast, the class action device

  16 presents far fewer management difficulties and provides the benefits of a single

  17 adjudication, economy of scale, and comprehensive supervision by a single court.

  18         41.    Class action certification is also warranted under Fed. R. Civ P. 23(c)(4)

  19 because questions of law or fact common to the Class members may be certified and

  20 decided by this Court on a class wide basis.
                                       FIRST CAUSE OF ACTION
  21
                     [VIOLATION OF 15 USC § 78i AGAINST ALL DEFENDANTS]
  22
            42.    Plaintiff hereby incorporates each and every allegation set forth herein without
  23
     duplication.
  24
            43.    Defendants, and each of them, as alleged, violated 15 USC § 78i (a), which
  25
     provides:
  26
                   It shall be unlawful for any person, directly or indirectly, by the use
  27        of the mails  or any means or instrumentality of interstate commerce, or of
            any facility of any national securities exchange, or for any member of a
  28        national securities exchange—…

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   1                                               ***
                    (2)    To effect, alone or with 1 or more other persons, a series of
   2        transactions in any security registered on a national securities exchange,
            any security not so registered, or in connection with any security-based
   3
            swap or security-based swap agreement with respect to such security
   4        creating actual or apparent active trading in such security, or raising or
            depressing the price of such security, for the purpose of inducing the
   5        purchase or sale of such security by others.
                                                   ***
   6                (6)    To effect either alone or with one or more other persons any
            series of transactions for the purchase and/or sale of any security other
   7
            than a government security for the purpose of pegging, fixing, or
   8        stabilizing the price of such security in contravention of such rules and
            regulations as the Commission may prescribe as necessary or appropriate
   9        in the public interest or for the protection of investors.
  10        44.    In addition, as alleged, Defendants, and each of them, violated 15 USC § 78i
  11 (d), which provides:

  12                It shall be unlawful for any person, directly or indirectly, by the use
            of the mails or any means or instrumentality of interstate commerce, or of
  13        any facility of any national securities exchange, or for any member of a
  14        national securities exchange to effect, alone or with one or more other
            persons, a manipulative short sale of any security. The Commission shall
  15        issue such other rules as are necessary or appropriate to ensure that the
            appropriate enforcement options and remedies are available for violations
  16        of this subsection in the public interest or for the protection of investors.
  17        45.    Pursuant to 15 USC § 78i(f),
  18                Any person who willfully participates in any act or transaction in
  19        violation of subsections (a), (b), or (c) of this section, shall be liable to any
            person who shall purchase or sell any security at a price which was
  20        affected by such act or transaction, and the person so injured may sue in
            law or in equity in any court of competent jurisdiction to recover the
  21        damages sustained as a result of any such act or transaction. In any such
            suit the court may, in its discretion, require an undertaking for the payment
  22        of the costs of such suit, and assess reasonable costs, including
  23        reasonable attorneys’ fees, against either party litigant. Every person who
            becomes liable to make any payment under this subsection may recover
  24        contribution as in cases of contract from any person who, if joined in the
            original suit, would have been liable to make the same payment. No action
  25        shall be maintained to enforce any liability created under this section,
            unless brought within one year after the discovery of the facts constituting
  26        the violation and within three years after such violation.
  27
            46.    As a proximate and legal result of Defendants, and each of them, and their
  28

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   1 violations, Plaintiff, LEVI COBOS, and those similarly situated, were injured and are entitled

   2 to damages sustained including, without limit, general and special damages, and

   3 reasonable attorneys fees and costs of suit.

   4         47.    The conduct of Defendants, and each of them, was willful, wanton, and done

   5 with malice, oppression, and fraud, with such conscious disregard of the rights of Plaintiff,
     and those similarly situated, and knowing that they are young and inexperienced investors
   6
     susceptible to substantial injury and financial harm, which Defendants and each of them
   7
     nevertheless abused and manipulated the Robinhood app to disable vital and important
   8
     features, knowing such conduct would injure Plaintiff, those similarly situated, and the
   9
     general public.
  10
                                      SECOND CAUSE OF ACTION
  11
                  [VIOLATION OF 18 USC § 1030(a) AGAINST ALL DEFENDANTS]
  12        48.    Plaintiff hereby incorporates each and every allegation set forth herein without
  13 duplication.

  14         49.    Defendants, and each of them, as alleged, violated 18 USC § 1030 (a), which
  15 provides,

  16                Whoever—

  17                 (A)    knowingly causes the transmission of a program,
             information, code, or command, and as a result of such conduct,
  18
             intentionally causes damage without authorization, to a protected
  19         computer;

  20         50.    Pursuant to 18 USC § 1030 (g),
  21         Any person who suffers damage or loss by reason of a violation of this
             section may maintain a civil action against the violator to obtain
  22         compensatory damages and injunctive relief or other equitable relief. A
             civil action for a violation of this section may be brought only if the conduct
  23
             involves 1 of the factors set forth in subclauses (I), (II), (III), (IV), or (V) of
  24         subsection (c)(4)(A)(i). Damages for a violation involving only conduct
             described in subsection (c)(4)(A)(i)(I) are limited to economic damages.
  25         No action may be brought under this subsection unless such action is
             begun within 2 years of the date of the act complained of or the date of the
  26         discovery of the damage. No action may be brought under this subsection
             for the negligent design or manufacture of computer hardware, computer
  27
             software, or firmware.
  28

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   1          51.    As a proximate and legal result of Defendants, and each of them, and their

   2 violations, Plaintiff, LEVI COBOS, and those similarly situated, were injured and are entitled

   3 to economic damages for violation of subclause (l) of subsection (c)(4)(A)(I).

   4          52.    As a proximate and legal result of Defendants, and each of them, and their

   5 violations, Plaintiff, LEVI COBOS, and those similarly situated, are entitled to a preliminary
     and permanent injunction restraining any further and future violations.
   6
                                        THIRD CAUSE OF ACTION
   7
             [VIOLATION OF BUSINESS & PROFESSIONS CODE § 17200 AGAINST ALL
   8
                                              DEFENDANTS]
   9
             53.    Plaintiff hereby incorporates each and every allegation set forth herein without
  10
     duplication.
  11
             54.    Defendants, and each of them, and their conduct as alleged herein constitute
  12 deceptive and unfair business practices in violation of Business & Professions Code §

  13 17200, including, without limit, by (a) disabling the “buy” button on the Robinhood app while

  14 enabling the “sell” button operative on any stock or securities transaction; (b) employing the

  15 Selective Market Manipulation, (c) failing to notify Plaintiff, and those similarly situated, with

  16 sufficient advance notice thereof; and/or (d) engaging in (a), (b), and (c) of this paragraph,

  17 in the benefit of Citadel (its investor) and to the detriment of Plaintiff and those similarly

  18 situated.

  19          55.    Defendants, and each of them, had actual and constructive knowledge of the

  20 conduct alleged herein, and had reasonable time to cure, but failed or refused to do so, nor
     do they intend to do so. Unless Defendants, and each of them, are enjoined from engaging
  21
     in such manners of business practices, they will continue to do so to the detriment and
  22
     injury of Plaintiff and those similarly situated, and the general public.
  23
             56.     As a result of the conduct described above, Defendants, and each of them,
  24
     have been and will be unjustly enriched at the expense of Plaintiff, those similarly situated,
  25
     in an amount that is unaccounted for, and which must be ascertained and restored to
  26
     Plaintiff, those similarly situated in the Class.
  27         57.     As a direct and proximate result of Defendants, and each of them, their
  28 conduct and unlawful business practices, as alleged, Plaintiff and those similarly situated

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   1 members of the Class suffered actual, general, and special damages in an amount to be

   2 proven at trial.

   3          58.     Pursuant to Business & Professions Code §§ 17200-17209, Plaintiff and those

   4 similarly situated members of the Class seek an order by this Court disgorging Defendants,

   5 and each of them, of their ill-gotten gains, and awarding Plaintiff and those similarly situated
       members of the Class, and the general public, full restitution of all fees, rents, costs,
   6
       deposits, profits, benefits, and/or monies wrongfully retained/acquired by Defendants and
   7
       each of them, by means of such acts of unfair business practices and competition, and
   8
       interest and attorneys’ fees pursuant to, inter alia, Business & Professions § 17200 et. seq.,
   9
       per § 17087, so as to restore any and all monies to Plaintiff and those similarly situated
  10
       members of the Class, and the general public, which were acquired and obtained by means
  11
       of such unfair business practices and competition, and which ill-gotten gains are still
  12 retained by Defendants and each of them, their affiliates or related entities. Plaintiff and

  13 members of the Class, and the general public, additionally request that such funds be

  14 impounded or a constructive trust imposed by the Court or that an asset freeze or trust be

  15 imposed upon such revenues, fees, rents, deposits, and profits to avoid dissipation or

  16 fraudulent transfers or concealment of such monies by any or all of the Defendants and

  17 each of them. Plaintiff also requests the Court to order an audit and accounting of all

  18 monies collected by Defendants and each of them, their affiliates or related entities, during

  19 the Settlement Class Period. Plaintiff and members of the Class, and the general public

  20 may be irreparably harmed or denied an effective and complete remedy if such orders are
       not granted.
  21
              59.     Pursuant to Business & Professions Code §§ 17200-17209, Plaintiff seeks an
  22
       order by this Court ordering Defendants and each of them, to change their practices such
  23
       that Robinhood is prohibited from disabling one or more of its transaction or trade features
  24
       on its app unless otherwise ordered to do so by a government agency or court of competent
  25
       jurisdiction, and restore all such functions forthwith.
  26
                                       FOURTH CAUSE OF ACTION
  27                           [NEGLIGENCE AGAINST ALL DEFENDANTS]
  28          60.     Plaintiff hereby incorporates each and every allegation set forth herein without

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   1 duplication.

   2          61.    Defendants, and each of them, owed Plaintiff, LEVI COBOS, and those

   3 similarly situation, a duty to act prudently and use reasonable care in providing financial

   4 services and notifications, and to refrain from acting in a manner which would foreseeably

   5 cause any harm.
              62.    Defendants, and each of them, also owed a special duty of care to Plaintiff
   6
       and those similarly situated, not to engage in any acts or inactions that would prioritize
   7
       Robinhood’s and its investors interests, in using the Robinhood app and customer base,
   8
       over that of Plaintiffs, those similarly situated or that of the general public, which included to
   9
       refrain from operating its trading platform unequally or by interfering with the ordinary and
  10
       orderly functioning by disabling one or more “buy” or “sell” feature independently, which
  11
       Defendants, and each of them, knew or should have known would cause a manipulation of
  12 the free open market.

  13        63.   Defendants, and each of them, breached their duties by, among other things,
  14 (i) disabling the “buy” feature on the Robinhood app on certain stocks or derivatives, while

  15 enabling only the “sell” feature on the same stocks or derivatives; (ii) prioritizing its own

  16 interests and that of its investors in connection with transactions on its transaction/trading

  17 platform; (iii) failing to notify customers in a timely manner in advance of the disablement

  18 and interruption of purchasing features on the Robinhood app.

  19          64.    As a proximate and legal cause of Defendant, and each of them, and their

  20 breaches, Plaintiff, and those similarly situated, suffered general and special damages.
                                           PRAYER FOR RELIEF
  21
            WHEREFORE, Plaintiff, LEVI COBOS, an individual, and those similarly situated
  22
     members of the Class, pray for judgment as follows:
  23
            1.      For General Damages according to proof at trial;
  24
            2.      For Special Damages according to proof at trial;
  25
            3.      For Pre- and Post Judgment Interest permitted by law;
  26
            4.      For Restitution of all amounts wrongfully retained by Defendants and each of
  27 them, their affiliates or related entities, including without limit, any premium fees, initiation

  28 fees, if applicable, and/or the pro-rata amounts thereof;

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   1         5.     For Disgorgement of all their ill-gotten gains and amounts, and reasonable

   2 dollar value thereof, wrongfully obtained by Defendants and each of them, including without

   3 limit, fees (actually paid or soft-dollar benefits), commissions (inside and outside), interest,

   4 profits, proceeds, or income;
             6.    For a Constructive Trust, that such funds be impounded or a constructive trust
   5
       imposed by the court or that an asset freeze or trust be imposed upon such revenues,
   6
       premiums, benefits, and profits to avoid dissipation or fraudulent transfers or concealment
   7
       of such monies by any or all of the Defendants. That audit and accounting of all monies
   8
       collected by Defendants and each of them, during the Settlement Class Period and be
   9
       made and reported to the court and Plaintiff;
  10
             7.     For a Preliminary and Permanent Injunction ordering Defendants and each of
  11
       them, to change their practices such that Robinhood is prohibited from disabling one or
  12 more of its transaction or trade features on its app unless otherwise ordered to do so by a

  13 government agency or court of competent jurisdiction, and restore all such functions

  14 forthwith.;

  15         8.     For Civil Penalty Damages not to exceed $2,500.00 for each violation, per
  16 Business and Professions Code § 17206.1, all in accordance with proof at trial;

  17         9.     For Treble Damages, per Business and Professions Code § 17082, all in

  18 accordance with proof at trial;

  19         10.    For Attorneys Fees per contract, statute or law;
             11.    For Costs of this suit herein incurred; and,
  20
             12.    For such other and further relief as the court deems just and proper.
  21
                                                      Respectfully Submitted,
  22 Dated: January 28, 2021                     LAW OFFICE OF JOSEPH M. KAR, PC
  23                                                    KROLL LAW FIRM

  24

  25                                             By: _____________________________
                                                               Joseph M. Kar
  26                                             Attorneys for Plaintiff, LEVI COBOS, an individual,
  27                                             and on behalf of those similarly situated
       ///
  28
       ///

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   1                                  DEMAND FOR JURY TRIAL

   2         Plaintiff hereby demand a trial by jury.

   3                                                 Respectfully Submitted,
       Dated: January 28, 2021                  LAW OFFICE OF JOSEPH M. KAR, PC
   4                                                   KROLL LAW FIRM
   5

   6
                                                By: _____________________________
   7                                                          Joseph M. Kar
                                                Attorneys for Plaintiff, LEVI COBOS, an individual,
   8                                            and on behalf of those similarly situated
   9

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              EXHIBIT 2
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